UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF WISCONSIN

FREEDOM FROM RELIGION FOUNDATION, INC.,

Plaintiff,

Vv. Case No.: 08-CV-1105

MANITOWOC COUNTY, WISCONSIN

BOB ZIEGELBAUER, Manitowoc County Executive,
And JEFFREY BEYER, Manitowoc County

Public Works Director,

Defendants.

DECLARATION OF REBECCA S. KRATZ

Rebecca S. Kratz declares, pursuant to 28 U.S.C. § 1746, as follows:

1. Lam the Staff Attorney at the Freedom From Religion Foundation, Inc. in
Madison, WI. I am the attorney for the plaintiff in this case. I make this affidavit
based on my personal knowledge.

2. Attached hereto as Exhibit A is a true and correct copy of the Defendants’ Answer
and Affirmative Defenses to Plaintiff's Complaint.

3. Attached hereto as Exhibit B is a true and correct copy of the Defendants’

Amended Answer and Affirmative Defenses to Plaintiff's Complaint.

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4. Attached hereto as Exhibit C is a true and correct copy of the Defendants’ Initial
Disclosures on behalf of Manitowoc County, Bob Ziegelbauer and Jeffrey Beyer.

5. Attached hereto as Exhibit D is a true and correct copy of the Defendants’
Response to Request for Production of Documents.

6. Accompanying Defendants’ Answer to Plaintiff's Complaint, Initial Disclosures,
and Defendants’ Response to Request for Production of Documents were the
following documents, all of which are public records and/or business records of
the Defendants, made and kept in the course of Defendants’ regularly conducted
activities, pursuant to Fed. R. Evid. 803:

A. Minutes of February 2, 1993 Transportation and Public Works
Committee meeting. A true and correct copy is attached as Exhibit E.

B. Minutes of June 27, 1997 and July 2, 1997 Public Works Committee &
Solid Waste Advisory Committee meeting and Resolution Authorizing
Placement of Fallen Police Officer Memorial dated July 15, 1997.
True and correct copies of these documents are attached as Exhibit F.

C. Minutes of May 28, 2003 Public Works Committee & Solid Waste
Advisory Committee meeting. A true and correct copy is attached as
Exhibit G.

D. Resolution Approving Policies and Procedures for After Hours Use of
Courthouse date March 17, 2009. A true and correct copy is attached
as Exhibit H.

E. Manitowoc County Courthouse Policies and Procedures (After Hours

Use). A true and correct copy is attached as Exhibit I.

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F, Minutes of March 17, 2009 Public Works Committee meeting. A true
and correct copy is attached as Exhibit J.

G. Public Works Committee meeting notice dated June 16, 2009
discussing Mainly Manitowoc’s application to use the courthouse
interior. True and correct copies of the notice and Mainly
Manitowoc’s application are attached as Exhibit K.

H. Statement from Bob Ziegelbauer, Manitowoc County Executive, A
true and correct copy is attached as Exhibit L.

I, Charlie Butts, Another town faces a nativity scene lawsuit,
OneNewsNow.com, Dec. 23, 2008. A true and correct copy is attached
as Exhibit M.

J. Nativity Lawsuit Filed in Federal Court, Manitowoc Herald Times
Reporter, Dec. 17, 2008. A true and correct copy is attached as Exhibit
N.

K. Bouril;: Nativity Scene ‘Illegal, disturbing,’ Manitowoc Herald Times
Reporter, Dec. 21, 2007. A true and correct copy is attached as Exhibit
O.

L. Group Opposes Courthouse Nativity, Manitowoc Herald Times
Reporter, Dec. 19, 2007. A true and correct copy is attached as
Exhibit P.

M. Take Nativity off Courthouse Lawn, Herald Times Reporter, Dec. 3,

2008. A true and correct copy is attached as Exhibit Q.

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I declare under penalty of perjury that the foregoing is true and correct.

Executed on: September SD , 2009.

USK

Rebecca S. Kratz

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